     Case 2:16-cr-00007-KS-MTP           Document 139         Filed 12/14/16     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                EASTERN DIVISION

UNITED STATES OF AMERICA

V.                                             CRIMINAL ACTION NO. 2:16-CR-7-KS-MTP

CHARLES BOLTON and
LINDA BOLTON


                                             ORDER

       This matter is before the Court on the Motion for Leave to File Under Seal [137] filed by

Defendant Linda Bolton. Defendant has represented that her reply to Government’s sealed response

[136] will contain similarly sensitive information from the presentence report and requests leave to

file said reply under seal. Defendant’s Motion for Leave to File Under Seal [137] is granted in an

abundance of caution, and Defendant is granted leave to file her reply under seal.

       SO ORDERED AND ADJUDGED this the                14th   day of December, 2016.


                                                       s/Keith Starrett
                                                     KEITH STARRETT
                                                     UNITED STATES DISTRICT JUDGE
